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5    9ttorneys for Defendants

6                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN MANANA ISLANDS
7

8                                                              1
     4UT0 MARINE, INC., ROLAND0 SENORAN, ) CIVIL ACTION NO. 05-0042
9    BENJAMIN T. SANTOS, AUGUST0 SANTOS 1
     md NORMANDY SANTOS                  )
10                                                             )
                                                               ) SECOND ERRATA TO
             Plaintiffs,
11                                                             ) MEMORANDUM OF POINTS AND
                                                               )   AUTHORITIES IN SUPPORT OF
                      V.
12                                                             )   DEFENDANTS’ MOTION TO
                                                               )   DISMISS THE AMENDED
13                                                             )   COMPLAINT
     ANTONIO SABLAN, MEL GREY in his official 1
     Zapacity as Acting Director of Immigration, and ) Date: LL*)/!5/<’C
14
     RICHARD T. LIZAMA, personally and in his        ) Time:       L ~ C )
15
     Dfficial capacity                               ) Judge: Hon. Alex R. Munson

16          Defendants.                                        1
17           NOW COMES defendants and file with the Court page 4 and 8 of Court’s “Order
18   Denying Plaintiffs Motion for Summary Judgment and Dismissing Case with Prejudice,”
19   Saguna v. Tenorio, Civ. Act. 01-0003 (April 9,2003).
20   Date: May 16, 2006.
                                                 Respectfully submitted,
21                                               OFFICE OF THE ATTORNEY GENERAL
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23
                                              B
24                                            B
                                              Assistant Attorney General
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                                  Case 1:05-cv-00042 Document 18 Filed 05/17/06 Page 2 of 3
    Apr-08-2003        09:08       From-US   DISTRICT COURT, NMI             +167R23628 10        T-471   P. 004/022   F-430




             1          II.       STANIlARa FORSUMMARY JUDGMENT
             2                    Rule 56 ofthe Federal Rules of Civil Procedure states, in part, that judgment "shallbe
              3
                        a d d forthvrith if the pleadings, depositions, ~UISWBSto intcrrogatOries, a d admisS;ons on
              4
                                together with the af€idavit~,if my,show that there is no gcnuiac issue as to any m a t d fact
              5
                         aad rhat the moving party is entitled to judgment as a matter of law."
              6

              7                    The party seeking summary judpmt always bears the initialresponslTbilityofinforming
              a          the court of the basis fbr its motion and iaentifjring those portions ofthc matlers on recod which
              9
                         it believes demonstratrsthe absence of a genuine issue ofmaterial Eact. CeLatex Corporation V.
             10
                         Cakett, 477 U.S. 317,323,106 S.Ct 2548,2553 (1986).
             11
                                   The non-moving party must set fix& by a€fidavit rn as QthUWi58providd m Rule 56
             12

             13           spccific facts shoeng that there is a genuine issue ofmaterial f e fbr trial. Kaiser Ccmwt Corn.

              14          Y. Fischbach & Mocm. b,793 F2d 1100,1103-1104 (9thCir.), cert. denied, 107 S.Ct. 435

              16
                          (1986).
              16
L
                          Ill,      DISCUSSTON
              11
                                    Thc court finds this case witable fbrdecision without oral V m t imdt-elieson the
              I1

              l!
                          pleadings filedby both parties See hcal Rule 7.1.a ('Wargumat is at the discretion of the

              21           court-..").

              21                     S a p movd the court for summary judgment on 7 52 of his c o q l a b t Thc narrow
                  z        issue presented to the wurt for resoJution i s whether or not DOLI may restrict Saganass
                  z
                           substantive due process and equal protection rights to b    l y market his labor in the common
                  2'
                              occupauons o f life to any prospective employer without restrictionand on equal terms as any
                  2!

                  2           citizen for so long a puiod as hc is lawfulry admitted to the CNMl as a nonresident worker,

                                                                              4
     A0 72
                                           Case 1:05-cv-00042 Document 18 Filed 05/17/06 Page 3 of 3
         Apr-Og-2003           0B:Ol        FroR-US DISTRICT COURT, NMI    t 167O2362810    T-471 P . 008I022                    F-430




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                   1             rights due to alleged CNMI-spomred dmrhnhation
                                                                     *          based OII alienage

                   2             Accordingly, S a g a d s motion for summaty juc3gpm.tbased on a Violation of 42 U.S.C. § 1981 is
                   3
                                 DENIED.
                   4
                                               I3.       The E4ual Prettctton and Substantive Due Process Clauses of th0 Fourteenth
                    5                                    Amfmdment
                       e
                                       1 Sagananext argued that pursuant to 0 501(a) ofthe Covenant to Establish a
                       i
                                                                                                  Smtes of
                                 Cammonwedth ofthcNorthcxnMarianalslaudsinPoliticalUnionwiththeU&i~
                       E
                                 -@                   ereh&er HcOVENANTJ3pthc Equal Protection clauseoftheFourteenthAmeddmeat
                       9

                                  applies h the CNMI 89 ifthe CNMl were a StateSTherefore,becanst the NWA dwmmmks
                                                                                                                           . ..
                   111

                   11             ag;rinst some and favors others based OD aliedage, the Act is subject to "strict scauth~.'~
                                                                                                                            Sagana
                   1;
                                  arguedthatunderthisssandard,~~Acanrwtvrrirhstaad~~tutionalm~~baausetht
                   1:

                   11
                                       6

                   l!                                0 501(a) of the COVWANT
                                                                           states:

                       1l                            To the extent that they are not applicableof their OVA force, & following
     1                                               pro~ionsoftho Constitutionof&e United States will be applicabIewithin
                       1
                                                     theNo~MarianaIslaadsasiftheNo~~MBriana~weseo~
                       1                                                                                     ....
                                                     ofthe sevcral States .. Amendment Fo\atem, Section 1; Othaprovisions
                                                     of or amendments to the Cmstitution ofthe Unitd Statcs,whicb do not apply
                       1                             of their own fom witbin the Northern MaximaIslands, will be applicable
                                                     within the Northem Mariaaa IIslanCtS onlywith the approval of the G~veamcnt
                       A
                                                     of tho Northern MariannaIslaads and of the Governmmt ofthe United States
                        2
                                       See "Covenant to Establish a Cornonwealth of the Northem MarianaIslands in Political
                        2              Unionwith the United States ofAmerica," Act of Mar. 24,1976,Pub. L No. 94-241,90
                                       Stat. 263 (codified as a m d d at 48 U.S.C. 5 1681 (1988))-
                           2

                           9               7

                                               A statute h v e s "Strict scrutin~review of its constitdionattyif its application
                           1
                                       results in disparate treatment of a suspect class, but there is a compelling govemmmt
                           .           interest and the law or regulation is narrowly tailored to achieve that interest. See Pl*f% V.
                                       Doe, 457 U.S. 202 (1987).
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          A0 72
          ILlnii U/Wl
